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               IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                              Plaintiff,

      Vs.                                       No. 06-40079-04-SAC

TONY TRAN NGUYEN,
                              Defendant.


                       MEMORANDUM AND ORDER

            The case comes before the court on the defendant’s motion for

release pending sentencing. (Dk. 175). Since his California arrest on

felony drug trafficking charges in May of 2007, the defendant has been

detained. Though originally charged with controlled substance offenses

punishable by a term of imprisonment of ten years or more that met the

requirements for 18 U.S.C. § 3142(f)(1), the defendant pleaded guilty in

May of 2008 to interstate travel in aid of the racketeering enterprise

(distribution of cocaine hydrochloride) in violation of 18 U.S.C. § 1952.

Thus, the defendant argues that he is not subject to the mandatory

detention provision of 18 U.S.C. § 3143(a)(2) with reference to 18 U.S.C. §

3142(f)(1). Under the provision of 18 U.S.C. § 3143(a)(1), the defendant

argues he poses no flight risk as evidenced by his decision not to flee when
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his co-defendants were arrested before him. Denying he poses a danger

to the safety of another person or community, the defendant argues there

is no evidence that he was directly involved in the actual distribution of

drugs under the originally charged conspiracy.

            “Pending sentencing, the presumption is that a defendant will

be detained.” United States v. Ingle, 454 F.3d 1082, 1084 (10th Cir. 2006);

see also S. Rep. No. 225, 98th Cong., 1st Sess. 26 (1983), reprinted in

1984 U.S. Code Cong. & Admin. News 3182 3209 (“Once guilt of a crime

has been established in a court of law, there is no reason to favor release

pending imposition of sentence or appeal.”). “To secure release on bail

after a guilty verdict, a defendant must rebut this presumption with clear

and convincing evidence that he is not a risk of flight or a danger to any

person or the community.” United States v. Abuhamra, 389 F.3d 309, 319

(2nd Cir. 2004) (citations omitted); see United States v. Ingle, 454 F.3d at

1084; United States v. Nedd, 415 F. Supp. 2d 1, 5 (D. Me. 2006); United

States v. Carter, 2003 WL 21673830 at *1 (D. Kan. 2003) (“defendant

bears the burden of proving he meets the conditions for release.”). In

evaluating the defendant’s offered proof, the district court also should

consider the factors enumerated in 18 U.S.C. § 3142(g). See United


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States v. Vance, 851 F.2d 166, 169-70 (6th Cir.), cert. denied, 488 U.S.

893 (1988); United States v. Majors, 932 F. Supp. 853, 855 (E. D. Tex.

1996).

             The defendant cannot meet his affirmative burden of proof with

blanket denials of evidence to support the risks of flight or danger. The

pretrial services reports prepared in the Central District of California and

the District of Kansas refute the defendant’s summary position that there is

no evidence. The defendant does not appear to have strong or close

family ties to Kansas or California. He traveled outside of the United States

in 2005 and 2006 and lived in Hawaii for two years. He does not own real

property, and his last residence was for only the two months before his

arrest. He was living with friends, a married couple, to whom he was

paying rent. The California report includes a prior misdemeanor conviction

for failure to appear. The defendant’s arguments do not overcome the

presumption of detention or the persuasive evidence of the defendant

being a flight risk.

             The defendant has two prior California felony convictions:

possession of a controlled substance for sale in 1992 and possession of

marijuana for sale in 1995. The defendant’s prior drug-related convictions


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as well as his admitted involvement in aiding and furthering the charged

drug trafficking conspiracy are sufficient proof of the danger that the

defendant poses to the community. Because the defendant has not come

forward with clear and convincing evidence that he is unlikely to flee and

does not pose a danger to himself or the community, the presumption of

detention in this case has not been rebutted. The court finds that there is

no condition or combination of conditions which will reasonably assure the

appearance of the defendant, as required, or the safety of the community.

            IT IS THEREFORE ORDERED that the defendant's motion for

release pending sentencing (Dk. 175) is denied.

            Dated this 18th day of June, 2008, Topeka, Kansas.



                        s/ Sam A. Crow
                        Sam A. Crow, U.S. District Senior Judge




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